34 F.3d 1078
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.PAUL W. BOYLES, Petitioner,v.MERIT SYSTEMS PROTECTION BOARD, Respondent.
    No. 94-3327.
    United States Court of Appeals, Federal Circuit.
    Aug. 4, 1994.
    MSPB
    PETITION REINSTATED
    ON MOTION
    ORDER
    
      1
      Paul W. Boyles's informal brief and Fed.Cir.R. 15(c) statement having been received and his motion for leave to proceed in forma pauperis having been granted,
    
    IT IS ORDERED THAT:
    
      2
      (1) The court's June 9, 1994 dismissal order is vacated, the June 9, 1994 mandate is recalled, and Boyles's petition for review is reinstated.
    
    
      3
      (2) The Board should compute the time for filing its brief from the date of filing of this order.
    
    